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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                8:13CR43
                 Plaintiff,
      vs.
                                                         ORDER
DOLORES MARIA TORRES,
                 Defendant.


     IT IS ORDERED that:

     1.     The defendant's unopposed Motion to Continue sentencing (filing
            740) is granted.

     2.     Defendant Dolores Maria Torres' sentencing is continued to
            Thursday, October 15, 2015, at 2:00 p.m., before the undersigned
            United States District Judge, in Courtroom No. 1, Roman L.
            Hruska Federal Courthouse, 111 South 18th Plaza, Omaha,
            Nebraska. The defendant shall be present at the hearing.

     Dated this 3rd day of September, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
